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                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF CONNECTICUT


GERVIL ST. LOUIS,
                                                         Civ. A. No. 3:13-cv-01132-RNC
                 Plaintiff,

          vs.                                            Dated: November 17, 2015

DOUGLAS PERLITZ, et al.,

                 Defendants.


This document relates to:

All Cases


                        DEFENDANTS’ MOTION FOR RELIEF
                  CONCERNING IMPROPER PAYMENTS TO PLAINTIFFS

          In order to attempt to remedy the grave risks to the integrity of these proceedings caused

by payments made to the plaintiffs by Cyrus Sibert, the agent of the plaintiffs’ counsel, and by

counsel’s employment of Mr. Sibert as a runner, the defendants move for entry of the following

orders:

          1.     An order to the plaintiffs’ counsel and their agents, servants, and employees

requiring them to cease making payments in cash or in kind to the plaintiffs without leave of

court (with the exceptions stated above).

          2.     An order requiring an accounting of all payments or benefits in cash or kind that

Mr. Sibert or anyone else working on counsel’s behalf have made to any plaintiff or potential

plaintiff.
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       3.      An order compelling plaintiffs’ counsel to produce copies of all contracts or

agreements between counsel and Mr. Sibert.

       4.      An order requiring plaintiffs’ counsel to inform the Court promptly of their

intentions with regard to continued use of Mr. Sibert as their agent. If counsel do intend to

continue working with Mr. Sibert, the Court should order Mr. Sibert to submit a declaration

showing that he understands he is forbidden to make any payments in cash or in kind to the

plaintiffs with the exceptions noted above.

       5.      An order requiring plaintiffs’ counsel to inform their clients promptly that neither

they nor their agents, including Mr. Sibert, can pay the plaintiffs’ expenses, except for expenses

of the litigation, unless approved by the Court.

       6.      An order compelling further answers from Mr. Dorcine and Mr. Joseph regarding

whether they received payments from their lawyers or from Mr. Sibert and declaring that the

response to these questions does not implicate the attorney-client privilege.

       7.      An order forbidding plaintiffs’ counsel, directly or through their agents, from

employing runners or acting as runners or solicitors in violation of Connecticut law.

       8.      An order requiring the plaintiffs to produce Mr. Sibert for a deposition in the

United States and to produce the documents in his possession, custody, or control, that are

responsive to the subpoena duces tecum.

       9.      Other relief that the court deems appropriate in the circumstances.

       A memorandum of law and a declaration are being filed with this motion.


                                     [signature page follows]




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                                 Respectfully submitted,

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                                               NEW ENGLAND
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                                               By its attorneys:
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THE SOVEREIGN MILITARY                         FAIRFIELD UNIVERSITY
HOSPITALLER ORDER OF ST. JOHN OF
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                                               /s/ John W. Cerreta
By its attorney:                               Stanley A. Twardy, Jr. (ct05096)
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Dated: November 17, 2015



                                   CERTIFICATE OF SERVICE

         I certify that on November 17, 2015, a copy of the foregoing document was filed

electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s

electronic filing system and by first-class mail to all parties who are unable to accept electronic

filing as indicated on the Notice of Electronic Filing. Parties may access this filing through the

Court’s CM/ECF system.

         I further certify that on November 17, 2015, I caused a copy of the foregoing document to

be served by first-class mail, postage prepaid, on counsel for the defendant, Douglas Perlitz, who

is unable to accept electronic service, and Haiti Fund, Inc.:

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                                                       /s/ Theodore J. Folkman
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